
Zimmerman, J.,
dissenting. An intention to devote unimproved real property in the form of a vacant lot as a place for “public worship,” even though accompanied by preliminary steps in that direction, does not constitute an actual devotion of the property to such use, and in my opinion Section 5709.07, Revised Code, providing that “houses used exclusively for public worship # * # and the ground attached to such buildings * * * shall be exempt from taxation,” may not properly be invoked to absolve such property, not yet used for purposes of public worship, from taxation. It is to be remembered that statutes exempting or excepting property from taxation are to be strictly construed.
Weygandt, C. J., and Herbert, J., concur in the foregoing dissenting opinion.
